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UNITED STATES DISTRICT COURT                                       USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                      DOCUMENT
---------------------------------------------------------------X   ELECTRONICALLY FILED
                                                                   DOC #: __________________
UNITED STATES OF AMERICA                                           DATE FILED: October 20, 2020



                                                                         18-CR-00631 (KMW)
                 v.                                                      OPINION & ORDER



JEREMY POSNER,

                           Defendant.
---------------------------------------------------------------X

KIMBA M. WOOD, District Judge:

        Defendant Jeremy Posner has moved to reduce his sentence under the federal

compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), in light of COVID-19. (ECF No. 40.)

The Government opposes the motion. (ECF No. 43.) For the reasons that follow, Defendant’s

motion is DENIED.

                                              BACKGROUND

        Defendant was arrested on August 21, 2018 in connection with his involvement in a

health care fraud scheme. The Government charged Defendant with (1) engaging in a scheme to

obtain reimbursement for medical services that Defendant had not actually received by

submitting false claims to an insurance carrier that administered health care benefits programs, in

violation of 18 U.S.C. § 1347; and (2) using the social security number and signature of a doctor,

without authority or consent, during and in relation to the health care fraud charge (18 U.S.C. §

1347), in violation of 18 U.S.C. §§ 1028A(a)(1) and 1028A(b). Defendant pleaded guilty to the

health care fraud charge. (See Gov’t Opp’n at 1.)
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        On June 26, 2019, the Court sentenced Defendant to 27 months’ imprisonment, followed

by three years of supervised release. (Sent. Tr. at 16, ECF No. 46.) The Court took into

consideration the fact that Defendant engaged in the fraudulent scheme for over four and a half

years and that the scheme involved the theft of over $500,000. (Id. at 15.) The Court also

recognized that Defendant had                                                and children who depend on

him. (Id.)

        Defendant is currently serving his sentence at Otisville FCI and, to date, has served

approximately 13 months of his 27-month sentence. (See Gov’t Opp’n at 1.)

        On July 20, 2020, Defendant’s counsel submitted a request for compassionate release and

for home confinement to the Warden of Otisville FCI on behalf of Defendant. (Mot. at 8; Gov’t

Opp’n at 2.) Defendant states that his applications for compassionate release and for home

confinement were denied in a letter dated September 17, 2020. (Reply at 2, ECF No. 44.)

        On September 2, 2020, Defendant filed the present motion. (ECF No. 40.) The

Government filed its letter in opposition to the motion on September 18, 2020. (ECF No. 43.)

                                           LEGAL STANDARDS

        Under 18 U.S.C. § 3582(c)(1)(A), as modified by the First Step Act, Pub. L. No. 115-

391, 132 Stat. 5194 (Dec. 21, 2018), a court may reduce a defendant’s sentence upon motion of

the Director of the Bureau of Prisons (“BOP”), or upon motion of the defendant. A defendant

may move under § 3582(c)(1)(A) only after the defendant has “fully exhausted all administrative

rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or

the lapse of 30 days from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier.”1 Id.


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  Defendant’s motion is properly before the Court because 30 days have elapsed since the date of Defendant’s
request to the Warden of Otisville FCI. (Mot. at 8; Gov’t Opp’n at 2.)

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       A court may reduce a defendant’s sentence if the court finds that “extraordinary and

compelling reasons warrant such a reduction,” and “such a reduction is consistent with the

applicable policy statements issued by the Sentencing Commission.” Id. § 3582(c)(1)(A)(i); see

also U.S.S.G. § 1B1.13. In making this determination, the court must consider the “the factors

set forth in [18 U.S.C. § 3553(a)] to the extent that they are applicable.” Id. § 3582(c)(1)(A).

       Congress delegated responsibility to the Sentencing Commission to “describe what

should be considered extraordinary and compelling reasons for sentence reduction.” 28 U.S.C.

§ 994(t). The Sentencing Commission has determined that a defendant’s circumstances meet this

standard when, inter alia, the defendant is “suffering from a terminal illness” or a “serious

physical or medical condition . . . that substantially diminishes the ability of the defendant to

provide self-care within the environment of a correctional facility,” or if, in the judgment of the

BOP, the defendant’s circumstances are extraordinary and compelling for “other reasons.”

U.S.S.G. § 1B1.13(1)(A) & cmt. n.1(A), (D). Following the passage of the First Step Act, courts

may independently determine whether such “other reasons” are present in a given case, without

deference to the BOP’s judgment. See United States v. Lisi, No. 15-CR-457, 2020 WL 881994,

at *3 (S.D.N.Y. Feb. 24, 2020) (Failla, J.).

       In addition, the Sentencing Commission has resolved that a court should reduce a

defendant’s sentence only after determining that “[t]he defendant is not a danger to the safety of

any other person or to the community.” U.S.S.G. § 1B1.13(2).

                                           DISCUSSION

       Defendant seeks compassionate release on the ground that he faces a heightened risk of

serious illness or death from infection with COVID-19 because he suffers from obesity, diabetes,

and various mental health issues. (Mot. at 9-11.) The Government does not dispute that



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Defendant suffers from obesity and diabetes, which present an “extraordinary and compelling”

reason due to COVID-19. (Gov’t Opp’n at 6.) The Court agrees and finds that, in the context of

the COVID-19 pandemic, Defendant’s medical conditions of obesity and diabetes constitute an

extraordinary and compelling reason for granting Defendant compassionate release.

        Nevertheless, the Court finds that Defendant’s risk of contracting COVID-19 at Otisville

FCI is very low. Although FCI Otisville had staff members and inmates test positive for

COVID-19 earlier this year, the BOP has taken aggressive measures to curtail the spread of the

virus.2 As a result, the vast majority of the staff members and inmates who tested positive have

since recovered.3 As of September 18, 2020, the Government states that “[t]he housing unit the

defendant lives in has not had a positive case.” (Gov’t Opp’n at 5.) And as of October 20, 2020,

there were only two reported cases of COVID-19 among staff members and only three reported

cases among inmates.4 The Court is mindful that inmates’ risks of contracting COVID-19

cannot be fully eliminated. But the Court finds that the low risk that Defendant faces from

contracting COVID-19 does not warrant compassionate release.

        In addition, the sentencing factors set forth in 18 U.S.C. § 3553(a) counsel against

granting Defendant’s motion. Section 3553 requires the Court to consider “the need for the

sentence imposed to reflect the seriousness of the offense,” “to afford adequate deterrence to

criminal conduct,” and “to protect the public from further crimes of the defendant.” 18 U.S.C. §§

3553(2)(B)-(D). As the Court noted during sentencing, the offense is very serious, because it

involved the theft of over $500,000, which likely caused an increase in insurance premiums for

other insureds. (Sent. Tr. at 15.) Defendant orchestrated this sophisticated and sustained fraud


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  See COVID-19 Cases, Fed. Bureau Prisons, https://www.bop.gov/coronavirus/index.jsp (last accessed Oct. 20,
2020).
3
  See id.
4
  See COVID-19 Cases, Fed. Bureau Prisons.

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scheme while he was serving a ten-year probation term for another crime. (Gov’t Opp’n at 6.)

As the Government points out, “[h]is fraud scheme demonstrated an incredible sense of

entitlement: when insurers tried to stop paying on his fraudulent claims, the defendant pretended

to be one of the ‘treating’ doctors and claimed, in letters and phone calls, that the patient (i.e.,

Posner himself) was distraught over the insurers’ failure to issue prompt reimbursements.” (Id.

at 6-7.) Moreover, Defendant’s scheme was a long-standing crime that lasted for over four and a

half years. (Sent. Tr. at 15.)

        Accordingly, the Court determined that sentencing Defendant to 27 months’

imprisonment, followed by three years of supervised release, is necessary in order to “take into

account the seriousness of the offense, the need to promote respect for the law, to provide just

punishment, and to afford adequate deterrence, both individual and general, including the need to

protect the public from further crimes of Mr. Posner.” (See id. at 16.) Thus, the Court finds that

the § 3553(a) factors also weigh against granting Defendant’s motion.

                                           CONCLUSION

        For the foregoing reasons, Defendant’s motion for compassionate release under

§ 3582(c)(1)(A) is DENIED.



SO ORDERED.

 Dated: New York, New York
        October 20, 2020                                         /s/ Kimba M. Wood
                                                                  KIMBA M. WOOD
                                                               United States District Judge




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